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                                                                                     FORM 3-1
               UNITED STATES COURT OF INTERNATIONAL TRADE

__________________________________________x
CARBON ACTIVATED TIANJIN CO., LTD.,       :
CARBON ACTIVATED CORPORATION,             :
DATONG JUQIANG ACTIVATED CARBON           :
CO., LTD., SHANXI INDUSTRY                :
TECHNOLOGY TRADING CO., LTD.,             :
DATONG MUNICIPAL YUNGUANG                 :
ACTIVATED CARBON CO., LTD., and           :
BEIJING PACIFIC ACTIVATED CARBON          :
PRODUCTS CO., LTD.,                       :
                                          :
                        Plaintiffs,       :                        SUMMONS
                                          :
                                          :                        Court No. 21-00131
      v.                                  :
                                          :
UNITED STATES,                            :
                                          :
                        Defendant.        :
__________________________________________x

TO:   The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
      Customs and Border Protection, and/or the United States International Trade Commission:


      PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
      U.S.C. § 1581(c) to contest the determination described below.

                                                    /s/ Mario Toscano
                                                    Clerk of the Court

   1. Name and standing of plaintiff: Plaintiffs in this action are Carbon Activated Tianjin Co.,
      Ltd., Carbon Activated Corporation, Datong Juqiang Activated Carbon Co., Ltd., Shanxi
      Industry Technology Trading Co., Ltd., Datong Municipal Yunguang Activated Carbon
      Co., Ltd., and Beijing Pacific Activated Carbon Products Co., Ltd. (collectively,
      “Plaintiffs”). As Chinese producers/exporters and a U.S. importer of certain activated
      carbon, Plaintiffs are interested parties within the meaning of 19 U.S.C. § 1677(9)(a),
      who were parties to the proceeding that led to the determination being challenged. As
      such, Plaintiffs have standing to challenge the determination at issue pursuant to 28
      U.S.C. § 2631(c) and 19 U.S.C. § 1516a(d).

   2. Brief description of the contested determination: The contested determination is the U.S.
      Department of Commerce’s final results in the 12th annual administrative review of the
      antidumping duty order on certain activated carbon from the People’s Republic of China.
      See Certain Activated Carbon from the People's Republic of China: Final Results of
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      Antidumping Duty Administrative Review, Final Determination of No Shipments, and
      Final Rescission of Administrative Review, in Part; 2018-2019, 86 Fed. Reg. 10,539
      (Feb. 22, 2021). This determination is contested pursuant to 19 U.S.C.
      § 1516a(a)(2)(B)(iii) and 28 U.S.C. § 1581(c). This Summons is being filed within 30
      days of the publication in the Federal Register of the final determination and is timely
      filed pursuant to 19 U.S.C. § 1516(a)(2)(A).

   3. Effective date of the determination: February 22, 2021.

   4. Date of publication in the Federal Register of the contested determination: February 22,
      2021.

                                                   Respectfully submitted,

                                                   /s/ Francis J. Sailer
                                                   Francis J. Sailer
                                                   Elaine F. Wang
                                                   Dharmendra N. Choudhary
                                                   Jordan C. Kahn
                                                   Brandon M. Petelin

                                                   GRUNFELD, DESIDERIO, LEBOWITZ
                                                   SILVERMAN & KLESTADT LLP
                                                   1201 New York Ave., NW, Suite 650
                                                   Washington, DC 20005
                                                   (202) 783-6881
Dated: March 23, 2021
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                        SERVICE OF SUMMONS BY THE CLERK

         If this action, described in 28 U.S.C. §1581(c), is commenced to contest a determination
listed in section 516A(a)(2) or (3) of the Tariff Act of 1930, as amended, the action is
commenced by filing a summons only, and the clerk of the court is required to make service of
the summons. For that purpose, list below the complete name and mailing address of each
defendant to be served.

Attorney-In-Charge
International Trade Field Office
Commercial Litigation Branch
U.S. Department of Justice
26 Federal Plaza
New York, New York 10278

Director, Civil Division
Commercial Litigation Branch
U.S. Department of Justice
1100 L Street, NW
Washington, DC 20530

General Counsel
U.S. Department of Commerce
14th Street & Constitution Ave., NW
Washington, D.C. 20230


                                                            The Honorable Mario Toscano
                                                            Clerk of the Court

Date: March __, 2021                                 By:_______________________
